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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF OKLAHOMA

     1. CARLTON BRYAN,                             )
     2. PATRICIA BRYAN,                            )
                                                   )
              Plaintiffs,                          )
                                                   )
v.                                                 ) Case No. 14-cv-00553 RAW
                                                   )
     1. CSAA FIRE & CASUALTY                       )
        INSURANCE COMPANY                          )
        D/B/A AAA FIRE & CASUALTY                  )
        INSURANCE COMPANY, A Foreign               )
             For Profit Insurance Corporation,     )
                                                   )

                            NOTICE OF SETTLEMENT

        Comes Now the Plaintiffs, Carlton Bryan and Patricia Bryan, by and through

their counsel of record, Michael D. McGrew, who hereby give notice to the court

that the parties have reached a settlement of the above captioned matter. At this

time, the parties are in the process of exchanging settlement release documents and

drafts. The parties hereby request that any scheduled court appearances and

deadlines be stricken. The Plaintiff and Defendant anticipate that a final dismissal

will be filed within thirty days.
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Respectfully submitted this 9th day of October, 2015.



                                      By:   /s/Michael McGrew
                                            Michael D. McGrew, OBA # 13167
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                                            ATTORNEYS FOR PLAINTIFF
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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 9, 2015, I electronically transmitted the
attached document, Notice of Settlement to the Clerk of the Court using the ECF
System for filing and transmittal of a Notice of Electronic Filing to the following
ECF registrants:

Greg Nellis

Counsel for Defendant


                                       s/Michael D. McGrew




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